                                Case 22-10014-SMG                       Doc 9         Filed 01/05/22              Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 22-10014-SMG
Lorenzo Andrew Allen                                                                                                   Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113C-0                                                  User: fererem                                                               Page 1 of 2
Date Rcvd: Jan 03, 2022                                               Form ID: 309I                                                              Total Noticed: 7
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 05, 2022:
Recip ID                 Recipient Name and Address
db                     + Lorenzo Andrew Allen, 6207 NW 66th Way, Parkland, FL 33067-1311
96454678               + Aldridge & Connors, 1615 S. Congress Ave., Ste. 200, Delray Beach, FL 33445-6326

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + Email/Text: meetingofcreditors@ch13weiner.com
                                                                                        Jan 04 2022 00:55:00      Robin R Weiner, POB 559007, Fort Lauderdale,
                                                                                                                  FL 33355-9007
smg                    + Email/Text: swulfekuhle@broward.org
                                                                                        Jan 04 2022 00:54:00      Broward County Tax Collector, 115 S Andrews
                                                                                                                  Ave, Ft Lauderdale, FL 33301-1818
smg                       EDI: FLDEPREV.COM
                                                                                        Jan 04 2022 05:48:00      Florida Department of Revenue, POB 6668,
                                                                                                                  Bankruptcy Division, Tallahassee, FL 32314-6668
ust                    + Email/Text: USTPRegion21.MM.ECF@usdoj.gov
                                                                                        Jan 04 2022 00:55:00      Office of the US Trustee, 51 S.W. 1st Ave., Suite
                                                                                                                  1204, Miami, FL 33130-1614
96454679               + EDI: LCIPHHMRGT
                                                                                        Jan 04 2022 05:48:00      Ocwen Loan Servicing L, 1661 Worthington Rd
                                                                                                                  Suite 100, West Palm Beach, FL 33409-6493

TOTAL: 5


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 05, 2022                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
                              Case 22-10014-SMG                    Doc 9        Filed 01/05/22            Page 2 of 4
District/off: 113C-0                                              User: fererem                                                          Page 2 of 2
Date Rcvd: Jan 03, 2022                                           Form ID: 309I                                                         Total Noticed: 7
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 3, 2022 at the address(es) listed
below:
Name                             Email Address
Office of the US Trustee
                                 USTPRegion21.MM.ECF@usdoj.gov

Robin R Weiner
                                 ecf@ch13weiner.com ecf2@ch13weiner.com


TOTAL: 2
                                Case 22-10014-SMG                     Doc 9         Filed 01/05/22             Page 3 of 4

 Information to identify the case:
 Debtor 1                 Lorenzo Andrew Allen                                                    Social Security number or ITIN   xxx−xx−7527

                          First Name   Middle Name   Last Name                                    EIN   _ _−_ _ _ _ _ _ _
 Debtor 2                                                                                         Social Security number or ITIN _ _ _ _
 (Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                  EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court        Southern District of Florida
                                                                                                  Date case filed for chapter 13 1/3/22
 Case number:          22−10014−SMG

Notice of Chapter 13 Bankruptcy Case

For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See boxes 8 and 12 below
for more information.)
You may want to consult an attorney to protect your rights. The bankruptcy clerk's office staff cannot give legal advice.
To help creditors correctly identify debtors, debtors must submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.
WARNING TO DEBTOR: Debtors must commence plan payments within 30 days of filing the chapter 13 petition or conversion to chapter 13.
Without further notice or hearing the court may dismiss your case for failure to timely pay filing fee installments, failure to appear at the
meeting of creditors or failure to be current with plan payments at the time of the meeting of creditors, and for failure to file a pre−bankruptcy
certification of credit counseling or file wage documentation. The case may also be dismissed or converted at the scheduled confirmation
hearing if the court denies confirmation of the pending plan under 11 U.S.C. § 1325 and denies a request made for additional time for filing
another plan or a modification of a plan.
                                               About Debtor 1:                                               About Debtor 2:
 1. Debtor's Full Name                         Lorenzo Andrew Allen

 2. All Other Names Used
    in the Last 8 Years
                                               6207 NW 66th Way
 3. Address                                    Parkland, FL 33067

    Debtor's Attorney                          Lorenzo Andrew Allen                                          Contact phone _____________
 4. (or Pro Se Debtor)                         6207 NW 66th Way
      Name and address                         Parkland, FL 33067

 5. Bankruptcy Trustee                         Robin R Weiner                                                Contact phone 954−382−2001
      Name and address                         POB 559007
                                               Fort Lauderdale, FL 33355

 6. Bankruptcy Clerk's                                                                                       Hours open 8:30 a.m. − 4:00 p.m.
                                               Federal Building
    Divisional Office Where                    299 E Broward Blvd, Room 112
                                                                                                             Contact phone (954) 769−5700
    Assigned Judge is                          Ft Lauderdale FL 33301
    Chambered
      Documents filed conventionally in paper may be filed at any bankruptcy clerk's office location.         Note: Contact the Clerk's Office at the number
      Documents may be viewed in electronic format via CM/ECF at any clerk's office public terminal           listed above or check the court's website for
      (at no charge for viewing) or via PACER on the internet accessible at pacer.uscourts.gov                reduced hours of operation for in−person
      (charges will apply). Case filing and unexpired deadline dates can be obtained by calling the           filings.
      Voice Case Information System toll−free at (866) 222−8029. As mandated by the Department of
      Homeland Security, ALL visitors (except minors accompanied by an adult) to any federal building
      or courthouse, must present a current, valid, government issued photo identification (e.g. drivers'     Clerk of Court: Joseph Falzone
      license, state identification card, passport, or immigration card.)                                     Dated: 1/3/22

 7. **MEETING OF CREDITORS**                                                                                     *MEETING WILL BE HELD BY
     Debtors must attend the meeting to be February 18, 2022 at 09:30 AM                                               TELEPHONE*
     questioned under oath. In a joint case,
     both spouses must be present with        The meeting may be continued or adjourned                     Trustee: Robin R Weiner
     required original government−issued to a later date. If so, the date will be on the
     photo identification and proof of social court docket.                                                 Call in number: 877−506−8679
     security number (or if applicable, Tax                                                                 Participant Code: 6439599
     ID). Creditors may attend, but are not
     required to do so.
Local Form 309I USBC SDFL (6/14/2021)                  Notice of Chapter 13 Bankruptcy Case                                                page 1
                            Case 22-10014-SMG                     Doc 9          Filed 01/05/22               Page 4 of 4
Debtor Lorenzo Andrew Allen                                                                                                    Case number 22−10014−SMG
8. Deadlines                             Deadline to file a complaint to challenge                               Filing deadline: 4/19/22
    The bankruptcy clerk's office        dischargeability of certain debts:
   must receive these
   documents and any required            You must file:
   filing fee by the following           • a motion if you assert that the debtors are
   deadlines. Writing a letter to           not entitled to receive a discharge under
   the court or judge is not                U.S.C. § 1328(f) or
   sufficient.                           • a complaint if you want to have a particular
                                            debt excepted from discharge under
                                            11 U.S.C. § 523(a)(2) or (4).
                                         Deadline for all creditors to file a proof of claim                     Filing deadline: 3/14/22
                                         (except governmental units):
                                         Deadline for governmental units to file a proof of                      Filing deadline: 7/5/22
                                         claim:

   When Filing Proofs of          Deadlines for Filing Proof of Claim:
   Claim: If the debtor is not     A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
   represented by an attorney,    www.flsb.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you
   you must serve copies of the might not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the
   proof of claim including all   schedules that the debtor filed. If this is a converted case proofs of claim filed under the initial chapter shall be
   attachments on the debtor, via deemed filed and need not be refiled.
                                  Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
   U.S. Mail, see Local Rule      claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
   3002−1(E). Claims may be       For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
   delivered or mailed to the     including the right to a jury trial.
   clerk's office. Creditors with
   internet access have the       Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing proofs of claim in this notice
                                  apply to all creditors. If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
   option to use the electronic   asking the court to extend the deadline to file a proof of claim. See also box 10 below.
   claims filing program on the
   court website at
   www.flsb.uscourts.gov to       Deadline to Object to Exemptions:                                         Filing deadline: 30 days after the
   electronically file a proof of The law permits debtors to keep certain property as exempt. Fully                             conclusion of the
   claim.                         exempt property will not be sold and distributed to creditors.                                meeting of creditors, or
                                         Debtors must file a list of property claimed as exempt. If you                               within 30 days of any
                                         believe that the law does not authorize an exemption that the                                amendment to the list
                                         debtors claim, you may file an objection.                                                    of supplemental
                                                                                                                                      schedules, unless as
                                         The bankruptcy clerk's office must receive the objection by                                  otherwise provided
                                         the deadline to object to exemptions.                                                        under Bankruptcy Rule
                                                                                                                                      1019(2)(B) and Local
                                                                                                                                      Rule 4003−1(B) for
                                                                                                                                      converted cases.

9. Filing of Plan and Hearing           The hearing on confirmation will be held on: 3/10/22 at 09:00 AM, by VIDEO CONFERENCE. You must register
   on Confirmation                      in advance no later than 3:00 PM, one business day before the hearing. To register, click on or enter the
                                        following registration link in a browser:
                                        https://www.zoomgov.com/meeting/register/vJIsceqsqzMtG7hezfpqRtlAFR1SzvHObJU
                                        If the debtor filed a Chapter 13 Plan, it is included with this notice. If no Plan is filed, the Plan will be mailed to
   Deadline to Object to                ALL parties in accordance with Local Rule 2002−1(C)(5).
   Confirmation                         At the confirmation hearing on the plan, the court will consider all timely objections to confirmation and any filed
                                        motions to dismiss or convert the case. Except for objections to confirmation based on valuation of collateral in
                                        the plan or objections to attorney fee claims, objections to confirmation of the plan must be in writing and
                                        filed no later than 14 days prior to the date first scheduled for hearing on confirmation, see Local Rule
                                        3015−3(B)(1).
   Attorney Fee Claims                  Attorney fee applications and objections to attorney fees shall be heard at the confirmation hearing.
10. Creditors with a Foreign             Consult an attorney familiar with United States bankruptcy law if you have any questions about your rights in
    Address                              this case.

11. Filing a Chapter 13                  Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    Bankruptcy Case                      according to a Plan. A Plan is not effective unless the Court confirms it. You may object to Confirmation of the
                                         Plan and appear at the Confirmation hearing. The Confimation hearing will be held on the date shown in box 9
                                         of this notice. The debtor will remain in possession of the property and may continue to operate the business, if
                                         any, unless the court orders otherwise.
12. Discharge of Debts                   Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                         However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                         are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                         as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                         523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                         If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                         must file a motion. See box 8 for deadlines. The discharge will not be issued until the Official Bankruptcy Form
                                         "Certification About a Financial Management Course" is filed by the debtor (unless the course provider filed a
                                         certificate of completion of the financial management course on behalf of the debtor).
13. Option to Receive Notices            1) EBN program open to all parties. Register at the BNC website bankruptcynotices.uscourts.gov, OR 2) DeBN
    Served by the Clerk by               program open to debtors only. Register by filing with the Clerk of Court, Local Form "Debtor's Request to
                                         Receive Notices Electronically Under DeBN Program". There is no charge for either option. See also Local Rule
    Email Rather than U.S. Mail          9036−1(B) and (C).
14. Translating Services                 Language interpretation of the meeting of creditors will be provided to the debtor at no cost, upon request to the
                                         trustee, through a telephone interpreter service. Persons with communications disabilities should contact the
                                         U.S. Trustee's office to arrange for translating services at the meeting of creditors.
Local Form 309I USBC SDFL                          Notice of Chapter 13 Bankruptcy Case                                                      page 2
